 

Case 2:05-mc-70840-GER ECF No. 21, PagelD.72 Filed 04/20/05

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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISLON

 

UNITED STATES OF AMERICA,
. =D
Plaintiff, 5 708 {
Criminal No. 03-80810
¥. Honorable Gerald FE. Rosen
T+1 AUMAD MLSA JEBRIL,
Th? MUSA ABDALLALI JEBRIL.
Defendants.
OF OF SERVICE

 

Doshia M. Banks, an employee of Law Office of Jorin G, Rubin, P.C., being duly sworn,
dcposes and says that on April 19, 2005, she mailed Subheieh Jebril’'s Brie('in Support of Mation
for Summary Judgment and Petitioner's, Subheieh Jebril’s Motion for Summary Judgment to:

AUSA Julie A. Bock

U.S. Attorney's Office

211 West Fort Street, Suite 2001
Detroit, Michigan 48226

I declare that the statement above is true to the beat of my information, knowledge, and

belief.

 

 

 

 

 
